Case 2:12-cv-08046-MWF-MRW Document 18 Filed 11/29/12 Page 1 of 3 Page ID #:63



  1    Douglas Baek (SBN: 258321)
       Krohn & Moss, Ltd.
  2    10474 Santa Monica Blvd., Suite 401
       Los Angeles, CA 90025
  3    Tel: 323-988-2400 x244
       Fax: 866-829-5083
  4    dbaek@consumerlawcenter.com
       Attorneys for Plaintiff,
  5    DIANA BATTS
  6

  7                                 UNITED STATES DISTRICT COURT

  8                                CENTRAL DISTRICT OF CALIFORNIA

  9    DIANA BATTS,                                  ) Case No.: 2:12-cv-08046-MWF-MRW
                                                     )
 10             Plaintiff,                           )
           v.                                        ) NOTICE OF SETTLEMENT
 11    MANDARICH LAW GROUP LLP,                      )
                                                     )
 12                                                  )
                      Defendant.                     )
 13                                                  )
                                                     )
                                                     )
 14

 15                                       NOTICE OF SETTLEMENT

 16           NOW COMES Plaintiff, DIANA BATTS (“Plaintiff”), by and through the undersigned
 17    counsel, and hereby informs the Court that a settlement of the present matter has been reached and
 18
       all parties to the present matter are currently in the process of executing the aforementioned
 19
       settlement agreement, which Plaintiff anticipates will be completed within the next 60 days.
 20
              Plaintiff therefore requests that this Honorable Court vacate all dates currently set on
 21

 22    calendar for the present matter.

 23

 24

 25

 26

 27

 28                                                   1
       _______________________________________________________________________________________________
                                              Notice of Settlement
Case 2:12-cv-08046-MWF-MRW Document 18 Filed 11/29/12 Page 2 of 3 Page ID #:64



  1    DATED: November 29, 2012                 RESPECTFULLY SUBMITTED,

  2                                             KROHN & MOSS, LTD.

  3
                                           By: /s/ Douglas Baek
  4
                                                Douglas Baek (SBN: 258321)
  5                                             Krohn & Moss, Ltd.
                                                10474 Santa Monica Blvd., Suite 401
  6                                             Los Angeles, CA 90025
                                                Tel: 323-988-2400 x244
  7                                             Fax: 866-829-5083
                                                dbaek@consumerlawcenter.com
  8                                             Attorneys for Plaintiff,
                                                DIANA BATTS
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28                                                   2
       _______________________________________________________________________________________________
                                            Notice of Settlement
Case 2:12-cv-08046-MWF-MRW Document 18 Filed 11/29/12 Page 3 of 3 Page ID #:65



  1                                     CERTIFICATE OF SERVICE
  2           I hereby certify that on November 29, 2012, I electronically filed the foregoing Notice of

  3    Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was
  4
       delivered to defendant bys via the courts Electronic Filing System.
  5

  6

  7
                                                  By:      /s/ Douglas Baek
  8
                                                             Douglas Baek (SBN: 258321)
  9                                                          Krohn & Moss, Ltd.
                                                             10474 Santa Monica Blvd., Suite 401
 10                                                          Los Angeles, CA 90025
                                                             Tel: 323-988-2400 x244
 11                                                          Fax: 866-829-5083
                                                             dbaek@consumerlawcenter.com
 12                                                          Attorneys for Plaintiff,
                                                             DIANA BATTS
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28                                                   3
       _______________________________________________________________________________________________
                                              Notice of Settlement
